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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
JN/ABS:SWR                                          271 Cadman Plaza East
F. #2018R00196                                      Brooklyn, New York 11201



                                                    January 16, 2020


By ECF
The Honorable Allyne R. Ross
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


              Re:     United States v. Yehuda Belsky
                      Criminal Docket No. 18-CR-00504 (ARR)

Dear Judge Ross:

                The government respectfully submits this letter to update the Court regarding
restitution in the above-referenced matter. At the January 3, 2020 phone conference, the
Court directed the parties to advise the Court if the restitution issues had been resolved, and
if not, to submit briefs on the issue by January 17, 2020.

               Although the parties have not resolved all of the restitution issues, we have
made meaningful progress and have reached agreement on the restitution amount for one of
the victims. We are continuing to discuss the remaining five victims, and are in the process
of verifying facts and documentation regarding several of them.

               Therefore, we ask the Court for an extension of the January 17, 2020 deadline
to enable the parties to continue to work towards resolution. The parties request that we
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advise the Court of the parties’ progress or submit briefing on the issue by January 24, 2020.
Defense counsel joins in this request.

                                                   Respectfully submitted,

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney
                                                   Eastern District of New York

                                           By:     /s/ Sarah Wilson Rocha           _
                                                   Sarah Wilson Rocha, Trial Attorney
                                                   Fraud Section, Criminal Division
                                                   U.S. Department of Justice

cc:    Evan L. Lipton, Esq.
       Henry E. Mazurek, Esq.
